          Case:24-12624-KHT Doc#:196 Filed:10/03/24                  Entered:10/03/24 15:28:07 Page1 of 1
                    UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO
                                                  Minutes of Proceeding


Date:      October 3, 2024                                  HONORABLE KIMBERLEY H. TYSON, Presiding


 In re:      DNC and TCPA LIST SANITIZER, LLC                             Debtor(s).          Case No: 24-12624-KHT
                                                                                                           Chapter 11

Appearances:
 Debtor                                                         Counsel     John Cimino
 Trustee                                                        Counsel     Joli Lofstedt
 U.S. Trustee                                                   Counsel     Alan Motes
 Creditor         Ringba, LLC, Tubmanburg Limited,              Counsel
                  Adam Young                                                Chad Caby
 Creditor         JPMorgan Chase Bank, N.A.                     Counsel     Peter Cal
 Creditor                                                       Counsel     Jeffery Cohen
 Creditor                                                       Counsel

Proceedings:      Telephonic Status and Scheduling Conference

 [] Evidentiary Hearing          [x] Non-Evidentiary Hearing

 [] Witnesses Sworn              [] See List Attached           [] Exhibits Admitted:       [] See List
                                                                                            Attached

 [X]        Entries of appearance(s) and statements made.


Orders:


  [X]       No orders will enter.




Date: October 3, 2024                                             FOR THE COURT:
                                                                  Kenneth S. Gardner, Clerk of the Bankruptcy Court

                                                                  By: s/ _Berenice Leon Caballero
                                                                       Berenice Leon Caballero, Law Clerk
